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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
EVANSVILLE DIVISION

UNITED STATES oF AMERICA,
Plaimiff,
v. Cause NO. 318-cr- ;2</ RLY/MPB
LEoNARDo GAMoN-SALAS,
AKA “JoSE GoNZALEZ, LEoNARDo
GAMoN, SALAS GAMoN, JESUS
GoNZALEz, CEFRERINo GoNZALEz,
and LEoNARDo GUZMA

Defendant.

I N D I C T M E N T
[8 U.S.C. §§ 1326(a) and (b) - Unlawful Re-entry of an Alien Previously Removed or Deported
from the United States]
The Grand Jury charges that:
On or about March 28, 2018, in the Southern District of Indiana,
LEONARDO GAMON-SALAS,
the defendant, being an alien, after having been arrested and deported from the United States to
Mexico, on or about August 30, 2005, on or about August 11, 2015, and on other occasions, Was

found to be in the United States in Vanderburgh County, Indiana, Without the Attorney General

[1]

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of the United States or the Secretary of Homeland Secu'rity having expressly given consent to the
defendant’s reapplying for admission to the United States and the August 30, 2005 removal, the
August ll, 2015 removal, and the other removals and deportations occurred after the defendant

had Sustained a felony conviction.

All of Which is in violation of Title 8, United States Code, Sections 1326(a) and (b).

A TRUE BILL:

    

FOREPERS ON

JosH J. MINKLER
United States Attorney

by /ln/M d

Tod(l S.'Shell'€nbarger '7
Assistant United States Attorney

